
USCA1 Opinion

	










          November 7, 1995
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                           

                                 ____________________


        No. 95-1458 

                             GLADYS L. COK, ETC., ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                                    MICHAEL FORTE,

                                 Defendant, Appellee.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


                [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            Gladys L. Cok on brief pro se.
            _____________
            Jeffrey  B.  Pine,  Attorney  General,  and  Richard  B.  Woolley,
            _________________                            ____________________
        Assistant Attorney General, on brief for appellee.


                                 ____________________


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                      Per Curiam.  Upon  review of the entire  record, we
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            agree that  the complaint  was properly dismissed  and affirm

            essentially  for  the  reasons  stated  in  the  magistrate's

            December  19,  1994,  report  and  recommendation  which  was

            adopted by the  district court.  Cok  v. Forte, 877  F. Supp.
                                             ___     _____

            797 (D.R.I. 1995).  We are also persuaded that the imposition

            of a  narrow, well-defined  injunction against  plaintiff Cok

            was  justified.    The  basis  for  the  injunction  is  well

            supported  in the record.  The filing restrictions set out in

            the order are  grounded in a  comprehensive history of  Cok's

            ten-years of litigation,  were entered after  notice, hearing

            and  the  opportunity  to   object,  and  are   unambiguously

            "tailored to  the specific circumstances presented."   Cok v.
                                                                   ___

            Family  Court  of Rhode  Island, 985  F.2d  32, 34  (1st Cir.
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            1993).

                      We  add  these  additional  comments.    Plaintiffs

            contend that they never consented to have their case heard by

            a magistrate-judge, that the magistrate exceeded the scope of

            his authority and  that the district  judge, in adopting  the

            magistrate's recommended disposition, including  the proposed

            injunction, failed to conduct a de novo review as mandated by

            28 U.S.C.    636(b)(1)(C).  First,  while a magistrate  lacks

            authority to  issue a  dispositive order, including  an order

            allowing an injunction, without the consent of the parties to

            a decision by  a magistrate, 28  U.S.C.   636(c)(1),  section



















            636(b)(1)(B) permits a district  judge to refer a  motion for

            injunctive relief to a  magistrate for a proposed disposition

            without the  parties' consent.   Here, the  magistrate merely

            recommended the imposition of an injunction; he did not order

            it.    Second,  plaintiffs  filed timely  objections  to  the

            magistrate's report.  In  accepting that report, the district

            court especially noted and approved the wording of the narrow

            injunction proposed by the magistrate.  The docket shows that

            the district  judge had, on  a number of  occasions, examined

            Cok's claims before  referring them  to the  magistrate.   We

            will not presume, in  the absence of  contrary  indicia, that

            the district  court conducted anything other  than a complete

            review of  the record.  See United States v. Hamell, 931 F.2d
                                    ___ _____________    ______

            466, 468 (8th Cir.), cert. denied, 112 S. Ct. 347 (1991).
                                 ____  ______

                      Affirmed.
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                      Appellant's motion for oral argument is denied.
                                                              ______

                      Appellant's  request  for  declaratory   relief  is

            denied.
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